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UNITED STATES DISTRICT COUBatg
FOR THE DISTRICT OF COLUMBIA

UNITED STATES Of AMERICA
Criminal No. 21-380 (CKK)

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)
)
Vv. )
Ex Parte, In Camera. SEATED — eenttaees
BRIAN JEFFREY RAYMOND )
)

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MEMORANDUM OPINION
(October [& 2023)

Defendant Brian Jeffrey Raymond (“Defendant” or “Mr. Raymond”) is charged bs
indictment with sexually assaulting scores of women over the course of several vears while
working QB os an employee of the Central Intelligence Agency (“CIA”). Before
the Court is the Government's Classified. Ey Parte. Jn Camera. Under Seal Motion and
Memorandum of Law in Support of Protective Order Pursuant to Section 4 af the Classified
Information Procedures Act and Rule 16(d)(1} of the Federal Rules of Criminal Procedure
(‘Moltion” or ~“Mot.”). Broadly, the Government asks the Court ta permit the Government 10
produce less-classified and unclassified summaries of certain ducumentary evidence. The
Government also asks the Court to authorize the redaction of certain information in documentary
evidence. With one minor exception. the Coun aprees with the Government's proposed
summaries and redactions, Accordingly, for the following reasons, and upon consideration of
the brieting, the relevant authorities, and the entire record. the Court shall GRANT IN PART

AND DENY IN PART the Motion.

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I. BACKGROUND

The Court has previously described a number of the Government’s allegations and this
case's procedural background in several prior opinions. F.g., United States v. Raymond, 640 F.
Supp. 3d 9 (D.D.C. Oct. 26, 2022) (‘Raymond f’); United States v, Raymond, -— F, Supp. 3d ---,
2023 WL 2043147 (D.D.C. Feb. 16, 2023) (“Raymond if’). The Court restates only those facts
necessary for the resolution of the pending motion and refers the reader to those prior opinions
for further background.

A. Gencral Procedural and Factual Background

An investigation of Mr. Raymand began afler police responded, on May 31, 2020, to

reports of a naked woman (“AV-1”) screaming on the balcony of Defendant’s resident in Mexico

City, leased by the United States Government for Embassy on i i i
hen Mr. Raymond was interviewed in

Mexico City by Mexican and American authorities, he indicated that he had met AV-1 online.
and that the two had gone to his apartment, had drinks, and engaged in consensual intercourse.
See Raymond I, 640 F. Supp. 3d at 14. In the middle of the night, however, AV-1 awoke, ran to
a window, and screamed for help, insisting that she had been raped, See id. A subsequent
urinalysis conducted by the Federal Bureau of Investigation (“FBI") uncovered traces of cocaine,
methamphetamine, and theophylline (a bronchial dilator asthma medication), but no trace of any
evidence of so-called “date rape” substances. /d, In a subsequent interview, AV-1 denied ever
having used any illegal drugs and accused Defendant of drugging one of her drinks. /a. Based
on the incident with AV-1, on June 2, 2020, law enforcement executed a search warrant for

Defendant’s devices. /d. at 15. This warrant, and others, tumed up a hoard of videos depicting

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Defendant sexually ieaudting unconscious women. Jd, at 18; United States v. Raymand, 2023
WL 3040453, at *3 (D.D.C. Apr. 21, 2023) (“Raymond LF’).

Based in part on the inculpatory material on the phones (videos of Defendant sexually
assaulting unconscious women), the Government filed a one-count Complaint charging
Defendant with enticing or coercing another “to travel in interstate or foreign commerce .. . to
engage in... any sexual activity for which any person can be charged with a criminal offense,”
in violation of 18 U.S.C. § 2422(a). See ECF No. 1 (Oct. 8, 2020). On December 31, 2020, the
Government filed a superseding complaint, charging Defendant with sexual abuse in violation of
18 U.S.C. § 2242(2) and abusive sexual contact in violation of 18 U.S.C. § 2244(a)(2). In
accordance with a plea agreement, the Government then filed a superseding information,
charging two counts of sexual abuse in violation of 18 U.S.C. § 2242(2) and one count of
transportation of obscene material (the photos of videos of unconscious women) in violation of
18 U.S.C. § 1462. ECF No. 59 at 1-4 (May 28, 2021). On July 23, 2021, Defendant entered, and
the Court accepted, a plea of “guilty” as to the charges in the superseding information. See
Minute Entry (July 23, 2021); Statement of Office, ECF No. 68.

Despite the plea, this case did not proceed to sentencing. Rather, Defendant moved to
withdraw his plea, based mainly on ineffective assistance of counsel. Raymond J, 640 F. Supp.
3d at 21. After substantial briefing, the Court granted the motion on those grounds. /d. at 34.
The Government then sought, and a grand jury returned, the first indictment, comprising eleven
counts similar to those charged in the prior charging instructions. Raymond IL], 2023 WL
3040453, at *3. That indictment alleged: two counts of sexual abuse in violation of 18 U.S.C.
§§ 2242(2), 7(9); one oat of aggravated sexual nies in violation of 18 U.S.C. §§ 2244{a)(2)

and 7(9); and one count of coercion and enticement to travel to engage in unlawful sexual

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activity, in violation of 18 U.S.C. § 2442(a). The operative superseding indictment more than
doubled the counts pending against Defendant. ECF No. 184. 11 brings twenty-five counts and
alleges fourteen distinct victims.

The parties then filed a battery of pretrial motions. {he Court has since resolved some of
them, most relevantly the Defendant's [242] Motion for Bill of Particulars. There. the court
mandated that the Government identify each alleged victim by name. Still pending before the
Court are: Detendant’s (190) Motion to Suppress: Defendant's [254]. [255]. [257]. [258]. and
(259] Motions in Limine: the Government's [259] Motion tor 404(b) and 413 Evidence: and
another CIPA motion fee ee ee ere ne Seon erry This memorandum
opinion and accompanying order resolves this last outstanding Motion.

B. Background Specific to Pending Motion

The Government's prudential review uncovered a number of classified records that may
qualify as Brady, Gigtio, or Jencks material. Additionally. some material may be useful either
(1) for the Goverment to impeach Defendant. should he take the stand. or (2) to demonstrate

mitigating circumstances at sentencing. should a jury convict Defendant on one or more counts

of the operative indictment, The material at issue here can be delineated as follows:

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Across the various documents, the Government has deleted

The Government’s supporting
declaration, a explains the harm that

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could be caused by the release of this information, Ex. A, and the Court credits this declaration in
its entirety. The Court also reviewed the raw documents on which the Government has based its
proposed summaries. '
I. LEGAL STANDARDS

In general, the Government must provide a defendant with all exculpatory “material”
relevant to the guilt or punishment of the accused. Brady v, Maryland, 373 U.S. 83 (1963).
Evidence is “material” where, if not disclosed, “there is a reasonable probability that . . . the
result of the proceeding would have becn different.” United States v. Bagley, 473 U.S. 667, 682
(1985). “Material” evidence includes that which a defendant could use to impeach a government

witness. United States v. Giglio, 405 U.S. 150 (1972). Additionally, by statute, the government

must disclose pretrial statements made by a witness that is related to the subject matter of their
testimony. 18 U.S.C. § 3500(b). Local Rule 5.1 further requires the government to disclose |
various categories of information, including Brady material. “regardless of whether the |
information would itself constitution admissible evidence” and “in a reasonably usable form
unless that is impracticable.” LCrR 5.1(a). That said, “[a]t any time the [C]ourt may, for good
cause, deny, restrict, or defer discovery for inspection.” Fed. R. Crim. P. 16(d)(1).

Where, however, such material has been classified, the Court looks to CIPA. United
States v. Libby, 429 F. Supp. 2d 46, 48 (D.D.C. 2006) (RBW). CIPA “does not expand or
restrict established principles of discovery and dues not have a substantive impact on the
admissibility of probative evidence.” United States v. Sedaghty, 728 F.3d 885, 903 (9th Cir.

2013). Indeed, CIPA stands at equal stature with the Federal Rules of Criminal Procedure

' The raw documents are numbered numerically WB and proposed substitutes are numbered
alphanumerically

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governing criminal discovery, and “contemplates an application of the general law of discovery
in criminal cases to the classified information area with limitations imposed based on the
sensitive nature of the classified information.” United States vy. Yunis, 867 F.2d 617, 622 (D.C.

Cir. 1989). In relevant part, CIPA permits

[t]he court, upon a sufficient showing, [to] authorize the United States to delete specified
items of classified information from documents to be made available to the defendant
through discovery under the Federal Rules of Criminal Procedure, to substitute a
summary of the information for such classified documents, or to substitute a statement
admitting relevant facts that the classified information would tend to prove.

CIPA § 4. To do so, the government must first move for ex parte review and, upon granting
such relief, “the entire text of the statement of the United States shal] be sealed and preserved in
the records of the court to be made available to the appellate court in the event of appeal.” Jd.

For a substitute summary of information, the Court has wide discretion to approve
suitable substitutions. See Sedaghaty, 728 F.3d at 905. These unclassified substitutions “need
not be of ‘precise, concrete equivalence,’ and the ‘fact that insignificant tactical advantages
could accrue to the defendant by use of the specified classified information should not preclude
the court from ordering alternative disclosure.” Jd.

As for deletions, if the information to be deleted is irrelevant or unhelpful to the defense,
the Court’s inquiry is over. Meija, 448 F.3d at 455. If, however, the information is relevant, the
Court must determine if the privilege claimed by the Government “is at least a colorable one.”
Yunis, 867 F.2d at 623. Ifso, then the Court must balance the Government’s (and public's)
interest in national security against the defendant’s need for the information. Meija, 448 F.3d at
445 (citation omitted). Special attention must be paid to whether producing the classified
materia] would implicate the sources and methods used to collect the material. Yuniv, 867 F.2d

at 623 (citing C/A y. Sims, 471 U.S. 159, 175 (1985).

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Before continuing, il should be added that a defendant also has a right to file their own ex
parte submission outlining their theory of the defense while the Court reviews the Government’s
classified, ex parte filing. See Sedaghaty, 728 F.3d at 906. Defendant eh: made no such
filing here.

Ill. DISCUSSION

The Court need not devote substantial time to much of the Government's redactions,

because the vast majority of them are clearly appropriate. SSS a
ee 2x16 similar information are all

particularly sensitive. See generally Mousovi v. Obama, 916 F. Supp. 2d 67 (D.D.C. 2013)
(redactions and substitutions in habeas contexi). These categories of information are also

irrelevant to this criminal matter. For instance, they do not bear on the veracity of the evidence

tying him to certain alleged sexual assaults. iia
ee 2: on whether, for example,

Defendant in fact assaulted an alleged victim. Perhaps more importantly, their releasc, cven to
cleared counsel, could undermine their efficacy in the future. This settles the vast majority of the

instant Motion.

Just two categories of information bear more discussion. The Government proposes

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40-41. The Government considers this information irrelevant to “the contested trial issues,” as

well as devoid of “exculpatory or impeachment information. Jd at 41. The Court agrees only in

part, EEE IEA SS eae REY ag aie rs Ow aoe

do not make it more or less likely that Defendant sexually abused certain women. portions of his

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Although relevant, this information is nevertheless not discoverable. These Ee are
inculpatory, not exculpatory, and include no impeachment material. The Government need not
disclose inculpatory material not helpful to the defense. Yunis. 867 F.2d at 622. Evidently, the

Govemment does not intend to use this information in its case-in-chief, unlike (ele

Seago! See Mot. at 31. As such, the Government’s proposed summary of
CE is appropriately redacted.

Second, it appears that the Government proposes redacting all mention of any particular

country throughout the materials, replacing them with numeric monikers (e.g.. “Country 1””). See

Mot. at 31. In the abstract, such a redaction is appropriate, because ESS ra
ED ccs not make it more or less likely that

Defendant perpetrated a particular assault in the United States or Mexico. “Country 6,” i!
(besssTG is a different matter. Count Thirteen of the operative indictment charges Defendant
with, in relevant part, drugging Victim 23 “in Country 6.” To carry its burden on this count,
therefore, ie Government must prove Beare a reasonable doubt fae charged conduct did

indeed occur in Country 6 rather than another country. Without revealing to the jury the fact that

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Country 6 Ge the Goverment runs the risk that it will inadvertently vary from the
terms of the operative indictment, with the jury thinking that Country 6 is a stand-in for a country
SD Se¢ United States y, Lorenzana-Cordon, 940 F.3d 1, 5 (D.C. Cir. 2020).
Without the bencfit of adverse argument, the Court concludes that the pending Motion presents
an appropriate opportunity for the Government to disclose to the defense a fact that it will
inevitably have to present at trial—that Country 6 (oes Accordingly, the Court approves -
the remainder of the Government's proposed substitutes, with the exception that “Country 6”
must be replaced with [is

IV. CONCLUSION

For the foregoing reasons, the Court GRANTS IN PART AND DENIES IN PART the

Motion, An appropriate order accompanies this Memorandum Opinion,

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Dated: October 12, 2023 C Be) Clb KY
COLLEEN KOLLAR-KOTELLY
United States District Judge

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